                                                                                                                                                      Case 3:18-cv-06743-SK          Document 503   Filed 04/15/24     Page 1 of 3



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                                                                                                                                                     AMERICAN FIRST FINANCE, LLC
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                                                                                                                                                14                                 UNITED STATES DISTRICT COURT
                                                                                                                                                15                           NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                                                                17   MARIA ANDRADE,                                 Case No. 3:18-cv-06743-SK

                                                                                                                                                18                    Plaintiff,                    JOINT UPDATE REGARDING
                                                                                                                                                                                                    SETTLEMENT
                                                                                                                                                19   v.

                                                                                                                                                20   AMERICAN FIRST FINANCE, LLC,

                                                                                                                                                21                    Defendant.

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                                                                                                                                                 1          Plaintiff Maria Andrade (“Plaintiff”) and Defendant American First Finance, LLC

                                                                                                                                                 2   (“Defendant”) (collectively, Plaintiff and Defendant are the “Parties”), by counsel, provide notice

                                                                                                                                                 3   that the Parties have reached an oral agreement on settlement terms that they expect to be

                                                                                                                                                 4   memorialized in writing by April 15, 2024. The conditions of settlement are to be accomplished

                                                                                                                                                 5   over a 120-day period. The Parties anticipate filing a stipulation of dismissal by August 13, 2024.

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                                                                                                                                                 7   Dated: April 15, 2024                               TROUTMAN PEPPER
                                                                                                                                                                                                         HAMILTON SANDERS LLP
                                                                                                                                                 8
                                                                                                                                                 9                                                       By: /s/ Kalama M. Lui-Kwan
                                                                                                                                                                                                             Kalama M. Lui-Kwan
                                                                                                                                                10                                                           Jacob Kozaczuk
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                                                                                                                                                11                                                           Attorneys for Defendant
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                                                                                                                                                                                                             American First Finance, LLC
                                                                                                          S A N F R A N C I S C O , C A 94111




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                                                                                                                                                     Dated: April 15, 2024                               GREEN & NOBLIN, P.C.
                                                                                                                                                13
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                                                                                                                                                 1                                  SIGNATURE AUTHORIZATION

                                                                                                                                                 2          Pursuant to Local Rule 5-1(i), I hereby certify that the contents of this document are

                                                                                                                                                 3   acceptable to the counsel signing above and that I have obtained counsel’s authorization to affix

                                                                                                                                                 4   his/her electronic signature to this document.

                                                                                                                                                 5                                         TROUTMAN PEPPER HAMILTON SANDERS LLP

                                                                                                                                                 6
                                                                                                                                                                                           By: /s/ Kalama M. Lui-Kwan
                                                                                                                                                 7                                                Kalama M. Lui-Kwan
                                                                                                                                                                                                  Attorney for American First Finance, LLC
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